UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:

TOP LINE GRANITE DESIGN INC.

Debtor.

Case No. 22-40216 (EDK)

Chapter 11

CERTIFICATE OF SERVICE

I, Macken Toussaint, with the law firm of Riemer & Braunstein LLP, hereby certify that I
caused to be served on November 7, 2022 a true and accurate copy of the STATUS REPORT
REGARDING (I) SALE OF THE DEBTOR’S ASSETS AND (II) FILED OBJECTIONS by

electronic notification (EN) and/or by e-mail (E-Mail), where indicated, upon the following

parties list below and any other party receiving electronic notification in this case:

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[filed POC]

DATED: November 7, 2022

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/s/ Macken Toussaint
Macken Toussaint

